Case 1:17-cv-01151-GMS Document 47-1 Filed 01/30/18 Page 1 of 1 PageID #: 346



                                         EXHIBIT A

                                     PROPOSED DEADLINES

      Event                                    Deadline
      Automatic Disclosures                    December 11, 2017
      Fact Discovery                           July 27, 2018
      Plaintiff’s Expert Reports               September 27, 2018
      Defendant’s Expert Reports               November 27, 2018
      Expert Depositions Completed             March 27, 2019

      Pretrial Order                           May 13, 2019

      Pretrial Conference                      May 28, 2019 at 10:00 AM in Courtroom 4A


      Trial                                    June 10, 2019 a 5 day Jury Trial at 9:30 AM
                                               Courtroom 4A
   
   
